                                Case 21-03020-sgj Doc 40 Filed 04/28/21         Entered 04/28/21 15:17:39        Page 1 of 1
BTXN 208 (rev. 07/09)
                                      Motion For Protective Order By James Dondero #23; Motion To Modify Order Granting Leave To
IN RE: UBS Securities LLC et al v.                                                                                                         Case #
                                      File Under Seal By James Dondero #24 & Plaintiff's Motion For An Order Authorizing Alternative
Highland Capital Management, L.P.                                                                                                      21−03020−sgj
                                                                        Service of Subpoena #28
DEBTOR
                                                                         TYPE OF HEARING

                                                                                                                                       UBS Securities LLC et
James Dondero                                                                      VS                                                  al
                                                                                                                                       DEFENDANT /
PLAINTIFF / MOVANT                                                                                                                     RESPONDENT


Clay M. Taylor & John Y. Bonds, III                                                                                                    Kathryn George
ATTORNEY                                                                                                                               ATTORNEY


                                                                               EXHIBITS
SEE EXHIBIT LIST                                                                    SEE EXHIBIT LIST

Doc #34                                                                                Doc #30 & #37




Michael Edmond                                                        April 28, 2021                              Stacey G. Jernigan
                                                                      HEARING
REPORTED BY                                                                                                     JUDGE PRESIDING
                                                                      DATE
